  2:17-cv-02739-BHH-MGB            Date Filed 10/23/17      Entry Number 12        Page 1 of 4




                                In the United States District Court
                                For the District of South Carolina
                                       Charleston Division

David Flowers,                      )                Case No. 2:17-cv-02739-RMG-MGB
                                    )
              Plaintiff,            )
                                    )
        vs.                         )
                                    )
Jeffrey Anderson;                   )
Anderson & Associates, P.A., and    )
Gregg Meyers,                       )
                                    )
              Defendants.           )
____________________________________)

                                        Motion to Remand

       Defendant Gregg Meyers, acting pro se, moves to remand this action to state court.

       At ¶ 5, the Notice of Removal states that Gregg Meyers is “domiciled in the State of

Minnesota,” at ¶ 8 a “nominal party,” and a “fraudulent/sham defendant.” Removal is determined

by the complaint, Merrill Dow Pharmaceuticals Inc. v. Thompson, 478 U.S. 804, 808, 106 S.Ct.

3229, 3232 (1986) (“the question for removal jurisdiction must also be determined by reference

to the ‘well-pleaded complaint.’” The complaint alleges (in ¶ 4) that I reside in and practice law

in South Carolina.

       Diversity jurisdiction under 28 U.S.C. § 1332(a) is determined by citizenship, not by

domicile or by residence. The complaint alleges only residence, the petition for removal alleges

only domicile. Under Rowland v. Patterson, 882 F.2d 97, 99 (4th Cir. 1989), to support diversity

jurisdiction in removed cases, “diversity must have existed both at the time the action was

originally commenced in state court and at the time of filing the petition for removal. See 14A

Wright, Fed.Prac., § 3723, at 311–314 (1985).”




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      2:17-cv-02739-BHH-MGB          Date Filed 10/23/17       Entry Number 12         Page 2 of 4




         A person is a citizen of a state only if he is a citizen of the United States and domiciled in

that state. Brown v. Keene, 33 U.S. (8 Pet.) 112, 115 (1834). Where a person is domiciled turns

on the individual’s intent. See, Ecker v. Atl. Refining Co., 222 F.2d 618, 621 (4th Cir. 1955) (a

resident intends to live in the place for the time being and a citizen has the intention to remain in

the state indefinitely.) Citizenship, not residency, established diversity jurisdiction. In the first

instance, the Petition to Remove has not alleged citizenship, so appears to have failed to

demonstrate that federal diversity jurisdiction exists, and the complaint does not establish that

diversity exists.

         If the court goes beyond the face of the complaint to examine citizenship, the district

court is to make an individualized inquiry as to voter registration, current residence, location of

real and personal property, location of bank and brokerage accounts, associations, place of

business, driver’s license and auto registration, and the state to which a party pays taxes. 13 Fed.

Prac. & Proc. Juris § 3612(3rd ed. 2009); see also, Webb v. Nolan, 484 F.2d 1049, 1051 (4th Cir.

1973). No single factor is dispositive.

         At present, I represent to the court that the pertinent information in these regards for me

is:

                -   My voter registration is and has been in South Carolina since October, 2016,

                -   My driver’s license is and has been in South Carolina and has been since

                    October, 2016,

                -   My auto registration remains Minnesota until the next renewal date, when it

                    will be transferred to South Carolina,

                -   My current residence is in Charleston, and I also maintain an apartment in St.

                    Paul, where my wife is continuing through medical treatment and my siblings




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  2:17-cv-02739-BHH-MGB             Date Filed 10/23/17      Entry Number 12        Page 3 of 4




                   are available to assist her. I am in Minnesota roughly one week a month to

                   assist my wife and she has not moved for that reason.

               -   location of personal property is Charleston, with some effects remaining in St.

                   Paul,

               -   My bank accounts are in Charleston (operating and IOLTA) and my wife and

                   I have one account for my wife to access in St. Paul,

               -   My place of business is Charleston, and my intention is to remain in

                   Charleston indefinitely as it is in Charleston that I have re-established my law

                   practice,

               -   In 2017 I will pay state taxes only in South Carolina, as I have worked only in

                   South Carolina in 2017.

I would say I am a citizen and resident of South Carolina, but I leave that to the court. I have no

indication that I am a nominal or sham defendant. I would prefer not to be a party to the case at

all, but I understand I am made a party through my contractual connections to the other parties in

this case and am a party for purposes of complete relief.

       Finally, three points should be made about the agreement I reached in June, 2017 with

Mr. Anderson. First, an existing agreement did not stop Mr. Anderson in 2016 from objecting, on

no articulable basis whatsoever, to a distribution to Mr. Flowers. That there is now a second

agreement may or may not restrain him in the future, but it is not an agreement Mr. Flowers can

enforce. Second, under the terms of that agreement, it was not to be disclosed to Mr. Flowers.

Third, the agreement may be “final” between Mr. Anderson and I, but is not yet entirely final.

Under In Re Jordan, Opinion 27734 (S.C. Supreme Court, August 30, 2017), each client must

consent to that agreement for his or her case. The Jordan case was pending in June, 2016, when




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   2:17-cv-02739-BHH-MGB              Date Filed 10/23/17      Entry Number 12       Page 4 of 4




Mr. Anderson and I reached our agreement. The Jordan opinion is not yet final, as a petition to

reconsider has been filed in that case by Mr. Jordan. As of the October 18, 2017 South Carolina

Advance Sheet, that petition remains pending.

           When the Jordan petition has been finally decided, the agreement must then be submitted

to the various clients for each of them to approve as to their case or cases. According to the

Jordan opinion, client approval is required by the Rules of Professional Responsibility,

requirements which, of course, none of us can waive. As Mr. Anderson is or should be aware, in

his zeal to take issue with me he took actions which damaged the interests of certain clients, and

operated against the interests of certain clients, so that conduct may well affect the process of

client approval for his interest in a given case. Presumably he took into consideration how to

handle those fiduciary obligations when he decided to act against the interests of certain clients.

           For those reasons, it appears a substantial overstatement to claim, as does Mr. Anderson,

that I am a sham defendant or a fraudulent party. Or that matters are entirely resolved among the

parties.

                                              Conclusion

           The matter should be remanded to state court as removal is not supported by the

complaint or by the petition to remove.

                                                Respectfully submitted,

                                                  s/ Gregg Meyers

                                                Gregg Meyers, pro se, Federal I.D. 4183
                                                Of Counsel, Pierce Herns Sloan & Wilson LLC
                                                321 East Bay Street
                                                Charleston SC 29401
                                                843-725-7750, 722-7732 facsimile
                                                greggmeyers@phswlaw.com




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